Case 1:19-cr-00006-JAO Document 48 Filed 01/14/21 Page 1 of 19        PageID #: 446




                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAII



 UNITED STATES OF AMERICA,                  CR. NO. 19-00006 JAO
                    Plaintiff,              ORDER DENYING DEFENDANT’S
                                            MOTION FOR REDUCTION OF
       vs.                                  SENTENCE
 DANIEL JOSEPH RIOS,
                    Defendant.



     ORDER DENYING DEFENDANT’S MOTION FOR REDUCTION OF
                         SENTENCE


       Defendant Daniel Joseph Rios (“Defendant”) filed a Motion for Reduction

of Sentence (“the Motion”), seeking compassionate release pursuant to 18 U.S.C. §

3582. ECF No. 41. The Court decides this motion without a hearing pursuant to

Local Rule 7.1(c). For the following reasons, the Motion is DENIED.

I.     BACKGROUND

       A.    Procedural History

       On January 14, 2019, the Government filed an Information charging

Defendant with violating 21 U.S.C. § 846—Conspiracy to Distribute and Possess

with Intent to Distribute Methamphetamine in violation of Title 21, United States

Code, Sections 841(a)(1) and 841(b)(1)(A). ECF No. 14. Defendant waived

indictment and pled guilty pursuant to a Memorandum of Plea Agreement (“Plea
Case 1:19-cr-00006-JAO Document 48 Filed 01/14/21 Page 2 of 19         PageID #: 447




Agreement”). ECF Nos. 17–19. On May 8, 2019, the Court sentenced Defendant

to a term of 120 months in custody and five years of supervised release. ECF No.

37. Defendant is currently incarcerated at Federal Correctional Institution

Victorville Medium I (“FCI Victorville”). See Federal Bureau of Prisons,

https://www.bop.gov/inmateloc (follow “Find By Name” tab; then search for

“Daniel Joseph Rios”) (last visited Jan. 14, 2021).

      Defendant filed the Motion on December 10, 2020. ECF No. 41. The

Government filed a Response on December 23, 2020. ECF No. 46. Defendant

filed a Reply on December 28, 2020. ECF No. 47.

      B.     Defendant’s Background

             1.    Defendant’s Current Condition

      It is undisputed that Defendant is 35 years old, has a Body Mass Index

(“BMI”) of more than 50, which means that he is severely obese, and tested

positive for COVID-19 in August. See ECF No. 41 at 5–7; ECF No. 46 at 6–7.

Defendant’s COVID-19 symptoms included a sore throat, coughing, muscle aches,

loss of taste and smell, and chills. ECF No. 41 at 5–6. However, throughout his

COVID-19 diagnosis, his temperature and oxygen levels were consistently normal.

ECF No. 46 at 22. He was also diagnosed with acute bronchitis, see ECF No. 41 at

5, although the Government posits that this condition was the result of Defendant’s

contracting COVID-19, and is managed, see ECF No. 46 at 21. Finally, Defendant


                                         2
Case 1:19-cr-00006-JAO Document 48 Filed 01/14/21 Page 3 of 19         PageID #: 448




likely has high blood pressure but has not yet been diagnosed as hypertensive. See

ECF No. 41 at 8.

             2.     Defendant’s History and Post-sentencing Behavior

      In his Plea Agreement, Defendant admitted that, over the course of more

than a year, Defendant engaged in a conspiracy to ship methamphetamine via the

U.S. Postal Service from California to Hawaiʻi for distribution. ECF No. 19 at 5.

His co-conspirators received the packages, sold the drugs, and sent the proceeds

back to him. See id. In November 2018, Defendant sent two packages to Kauaʻi,

and each package contained between 500 and 600 grams of methamphetamine.

See id. at 5–6. He flew to Kauaʻi to retrieve the packages, which were intended for

further distribution. See id. at 6.

      Defendant has served approximately 26 months of his 120-month sentence.

See ECF No. 41 at 5. His scheduled release date is May 17, 2027. See Federal

Bureau of Prisons, https://www.bop.gov/inmateloc (follow “Find By Name” tab;

then search for “Daniel Joseph Rios”) (last visited Jan. 14, 2021).

      Since his incarceration, Defendant has made efforts to improve himself by

taking many classes, including those aimed at parenting skills, coping with grief,

and employment. See ECF No. 41-6.




                                          3
Case 1:19-cr-00006-JAO Document 48 Filed 01/14/21 Page 4 of 19          PageID #: 449




        C.     Conditions at FCI Victorville

        As of this writing, FCI Victorville has 52 active cases among inmates and 35

active cases among staff. See Federal Bureau of Prisons, https://www.bop.gov/

coronavirus (mouse over “FCC Victorville” and scroll to “FCI Victorville Medium

I”) (last visited Jan. 14, 2021). It presently has a population of 989 inmates. See

Federal Bureau of Prisons, https://www.bop.gov/locations/institutions/vim (last

visited Jan. 14, 2021). While this suggests a current five-to-six percent rate of

infection among inmates, it does not take into account the total number of inmates

who have been infected at FCI Victorville since the beginning of the pandemic,

which appears to be approximately 600.1 See Federal Bureau of Prisons,

https://www.bop.gov/coronavirus (click on “Full breakdown and additional

details”) (last visited Jan. 14, 2021).

II.     DISCUSSION

        A.     Exhaustion of Administrative Remedies

        Under Section 3582(c)(1)(A), a defendant seeking compassionate release

must “fully exhaust[] all administrative rights to appeal a failure of the Bureau of

Prisons to bring a motion on the defendant’s behalf or the lapse of 30 days from

the receipt of such a request by the warden of the defendant’s facility, whichever is

earlier.” 18 U.S.C. § 3582(c)(1)(A). Defendant bears the burden of establishing


1
    See infra note 3.
                                          4
Case 1:19-cr-00006-JAO Document 48 Filed 01/14/21 Page 5 of 19          PageID #: 450




the exhaustion requirement. See United States v. Van Sickle, No. CR18-0250JLR,

2020 WL 2219496, at *3 (W.D. Wash. May 7, 2020); United States v. Tafoya-

Ramos, No. 1:15-CR-0288-AWI-SKO-6, 2020 WL 7425341, at *2 (E.D. Cal. Dec.

18, 2020).

      The Government contends that Defendant’s statement in an exhibit attached

to the Motion is insufficient to establish that he exhausted his administrative

remedies. See ECF No. 46 at 18. The Government further argues that any

statement Defendant offers about his administrative efforts necessarily must

comply with 28 C.F.R. § 571.61(a), but offers no caselaw in support of this

position.

      District courts have accepted an inmate’s word about his exhaustion of

remedies, and have not required documentation nor much detail of such

exhaustion. See, e.g., United States v. Cornelio, No. 17-cr-00321-DKW, 2020 WL

6021466, at *2 (D. Haw. Oct. 12, 2020); United States v. Akolo, CR. NO. 13-

00653-SOM-10, 2020 WL 4810104, at *2 (D. Haw. Aug. 18, 2020). Here,

Defendant informs the Court via a letter to counsel dated November 28, 2020, that

he “already sent a compassionate release request to the Warden T. Jusino . . . on or

about Oct. 08, 2020” and that he was “yet to receive any response.” ECF No. 47-1

at 3 (some capitalization omitted). The Court finds this sufficient under the

circumstances here, where the only factual response the Government offers is a


                                          5
Case 1:19-cr-00006-JAO Document 48 Filed 01/14/21 Page 6 of 19          PageID #: 451




similarly unsworn statement that the BOP does not have a record of a request. The

time sensitive nature of the motion, the widespread BOP shutdowns, and limited

communication avenues for defense counsel to speak to their clients also weigh in

favor of concluding that Defendant exhausted his administrative remedies under

the facts here. See Akolo, 2020 WL 4810104, at *3.

      B.    Whether a Sentence Reduction Is Warranted

            1.     The Function of United States Sentencing Guidelines Section
                   1B1.13

      Prior to the passage of the First Step Act, only the BOP could move for an

inmate’s compassionate release. See 18 U.S.C. § 3582(c)(1)(A) (2012). But the

First Step Act amended, among other things, 18 U.S.C. § 3582(c)(1)(A), which

now allows inmates to seek compassionate release:

            [T]he court, upon motion of the Director of the Bureau of
            Prisons, or upon motion of the defendant after the defendant has
            fully exhausted all administrative rights to appeal a failure of the
            Bureau of Prisons to bring a motion on the defendant’s behalf or
            the lapse of 30 days from the receipt of such a request by the
            warden of the defendant’s facility, whichever is earlier, may
            reduce the term of imprisonment (and may impose a term of
            probation or supervised release with or without conditions that
            does not exceed the unserved portion of the original term of
            imprisonment), after considering the factors set forth in section
            3553(a) to the extent that they are applicable, if it finds that –
                   (i)   extraordinary and compelling reasons warrant such
                         a reduction; . . .
                         and that such a reduction is consistent with
                         applicable policy statements issued by the
                         Sentencing Commission[.]

                                         6
Case 1:19-cr-00006-JAO Document 48 Filed 01/14/21 Page 7 of 19             PageID #: 452




18 U.S.C. § 3582(c)(1)(A) (2018) (emphasis added).

      United States Sentencing Guidelines (“USSG”) section 1B1.13 (“the

Guideline”) addresses Section 3582 motions, but the Sentencing Commission has

not updated the Guideline since the passage of the First Step Act.2 The Guideline

allows for a sentence reduction for compassionate release “[u]pon motion of the

Director of the Bureau of Prisons . . . if, after considering the factors set forth in 18

U.S.C. § 3553(a), to the extent that they are applicable, the court determines that . .

. extraordinary and compelling reasons warrant the reduction[.]” USSG § 1B1.13.

It further outlines four categories of extraordinary and compelling reasons in the

application notes: the defendant’s medical condition, the defendant’s age (at least

65 years old), family circumstances, and “other reasons.” Id., comment. (n.1).

This last category is known as the “catch-all” clause. United States v. Brooker,

976 F.3d 228, 232 (2d Cir. 2020). The Guideline notes also explain that the catch-

all clause applies when, “[a]s determined by the Director of the Bureau of Prisons,

there exists in the defendant’s case an extraordinary and compelling reason other

than, or in combination with, the [other] reasons[.]” USSG § 1B1.13, comment.


2
   The Commission’s failure to amend the Guideline is likely due to its lack of
sufficient members for a quorum. See U.S. Sentencing Commission, “About the
Commissioners,” https://www.ussc.gov/commissioners (last visited Jan. 14, 2021)
(listing only 1 voting commissioner); U.S. Sentencing Commission,
“Organization,” https://www.ussc.gov/about/who-we-are/organization (last visited
Jan. 14, 2021) (“The affirmative vote of at least four members of the Commission
is required to promulgate amendments to the sentencing guidelines.”).
                                            7
Case 1:19-cr-00006-JAO Document 48 Filed 01/14/21 Page 8 of 19           PageID #: 453




(n.1). In other words, according to the Guideline, wide discretion regarding what

constitutes an “extraordinary and compelling reason” rests only with the BOP

Director.

       The change in the compassionate release statute and lack of amendment to

the Guideline beg the question of whether the Guideline applies to all Section 3582

motions—including those brought by defendants. The Court concludes that it does

not.

       The plain language of the Guideline clearly limits the Guideline’s

application to compassionate release motions filed by the BOP Director. See

United States v. Cruz-Gramajo, 570 F.3d 1162, 1167 (9th Cir. 2009) (explaining

that the rules of statutory construction apply to the Guidelines and that plain

language controls); USSG § 1B1.13 (“Upon motion of the Director . . . .”). And

this plain reading now has support from four Circuits and numerous district courts

within the Ninth Circuit. See Brooker, 976 F.3d at 235 (“Turning to the text of the

Guideline § 1B1.13, it is manifest that its language is clearly outdated and cannot

be fully applicable. The very first words of the Guideline are ‘[u]pon motion of

the Director of the Bureau of Prisons.’” (alteration in original and citation

omitted)); see United States v. Jones, No. 20-3701, 2020 WL 6817488, at *8 (6th

Cir. Nov. 20, 2020) (“Examining the four corners of § 1B1.13 alone, it becomes

immediately apparent that the policy statement does not wholly survive the First


                                          8
Case 1:19-cr-00006-JAO Document 48 Filed 01/14/21 Page 9 of 19           PageID #: 454




Step Act’s promulgation. The first sentence of § 1B1.13 predicates the entire

policy statement on the Director of BOP’s filing a motion for compassionate

release.” (citation omitted)); United States v. McCoy, Nos. 20-6821, 20-6869, 20-

6875, 20-6877, 2020 WL 7050097, at *7 (4th Cir. Dec. 2, 2020); United States v.

Gunn, No. 20-1959, 2020 WL 6813995, at *2 (7th Cir. Nov. 20, 2020) (“Section

1B1.13 addresses motions and determinations of the Director, not motions by

prisoners. In other words, the Sentencing Commission has not yet issued a policy

statement ‘applicable’ to Gunn’s request. And because the Guidelines Manual

lacks an applicable policy statement, the trailing paragraph of § 3582(c)(1)(A) does

not curtail a district judge’s discretion. Any decision is ‘consistent with’ a

nonexistent policy statement.”); see also, e.g., United States v. Parker, 461 F.

Supp. 3d 966, 978–79 (C.D. Cal. 2020) (collecting cases and rejecting the

argument “that pre-[First Step Act] categories contained in U.S.S.C. § 1B1.13 limit

[a court’s] discretion to determine whether an inmate has raised ‘extraordinary and

compelling’ circumstances that justify the modification of her sentence.” (quoting

United States v. Wade, No. 2:99-cr-00257-CAS-3, 2020 WL 1864906, at *5 (C.D.

Cal. Apr. 13, 2020)); United States v. Rodriguez, 424 F. Supp. 3d 674, 681–82

(N.D. Cal. 2019) (collecting cases); United States v. Manzo, Nos. 2:07-CR-02042-

LRS-2, 2:07-CR-02071-LRS-1, 2020 WL 6786898, at *2 (E.D. Wash. Nov. 18,




                                           9
Case 1:19-cr-00006-JAO Document 48 Filed 01/14/21 Page 10 of 19             PageID #: 455




2020); United States v. Hernandez, CR. NO. 13-00511(1) JMS, 2020 WL

3453839, at *4 (D. Haw. June 24, 2020) (collecting cases).

      The plain language of the statute itself does not alter this conclusion. The

First Step Act directs the Court to evaluate whether “a reduction is consistent with

applicable policy statements issued by the Sentencing Commission.” 18 U.S.C. §

3582(c)(1)(A) (emphasis added). Because the Guideline does not apply here, the

Court is not restricted by it or its notes and relies on the direction outlined in the

statute. See McCoy, 2020 WL 7050097, at *7 (“What § 3582(c)(1)(A) requires is

that sentence reductions be consistent with ‘applicable policy statements.’ And

here, that consistency requirement simply is not implicated, for the threshold

reason that there currently exists no ‘applicable policy statement.’” (brackets

omitted)).

      Even if the Court were to look past the plain language of both the statute and

the Guideline, it is undisputed that the First Step Act was passed in an effort to

reduce incarceration, see generally 164 Cong. Rec. S7640–50 (daily ed. Dec. 17,

2018); see also Congressional Research Service, The First Step Act of 2018: An

Overview (Mar. 4, 2019), https://crsreports.congress.gov/product/pdf/R/R45558,

and that Congress amended Section 3582 in response to the BOP’s underwhelming

number of compassionate release motions. See First Step Act § 603(b), 132 Stat. at

5239 (titled “Increasing the Use and Transparency of Compassionate Release”);


                                           10
Case 1:19-cr-00006-JAO Document 48 Filed 01/14/21 Page 11 of 19         PageID #: 456




see also Brooker, 976 F.3d at 233. Therefore, concluding that the Guideline

applies only to motions brought by BOP does not undermine the intent of the

passage of the First Step Act and in particular the amendments made to the

compassionate release statute. See Jones, 2020 WL 6817488, at *8 (“It would

make little sense for the courts to operate as if the BOP remains the sole gatekeeper

of compassionate release, which would reflect a bygone era that Congress

intentionally amended in the First Step Act.”).

      Unfettered by USSG § 1B1.13, the Court follows Section 3582(c)(1)(A)’s

direction.

             2.    Defendant’s Stated Extraordinary and Compelling Reasons

      As an initial matter, defense counsel correctly explains that the question

before the Court is not the same question addressed at sentencing. The Court is not

asked to determine whether the sentence previously imposed was “sufficient, but

not greater than necessary” to comply with the factors outlined in 18 U.S.C. §

3553(a)(2), but rather, to determine whether “extraordinary and compelling reasons

warrant . . . a reduction.” 18 U.S.C. § 3582(c)(1). The Court is then required to

evaluate the Section 3553(a) factors to decide whether to reduce a term of

incarceration. See 18 U.S.C. § 3582(c)(1)(A).




                                         11
Case 1:19-cr-00006-JAO Document 48 Filed 01/14/21 Page 12 of 19         PageID #: 457




                   a.     Defendant’s Health

      Defendant purports to have three risk factors: severe obesity, high blood

pressure, and acute bronchitis.

                         i.       Severe Obesity

      Defendant is severely obese. See https://www.cdc.gov/obesity/adult/

defining.html (defining obesity as a BMI of 30.0 or higher, and a BMI of 40 or

higher as “extreme” or “severe” obesity (internal quotation marks omitted)) (last

visited January 14, 2021). This condition certainly places Defendant at a higher

risk of problematic COVID-19 outcomes. See CDC, “People with Certain Medical

Conditions,” https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions

%2Fgroups-at-higher-risk.html (last visited Jan. 14, 2021).

                        ii.       High Blood Pressure

      Defendant points to his high blood pressure as a factor that “likely increases

his risk,” but admits that he has not yet been diagnosed as hypertensive. ECF No.

41 at 8. His blood pressure appears in his medical records only once—on August

24, 2020—and was 145/85, which is high. See ECF No. 41 at 8 (citing Exhibit A);

CDC, “High Blood Pressure,” https://www.cdc.gov/bloodpressure/about.htm (last

visited Jan. 14, 2021). Although this offers a limited window into Defendant’s

typical blood pressure (especially considering that the blood pressure measurement

was during his bout with COVID-19), it seems somewhat unreasonable for the


                                         12
Case 1:19-cr-00006-JAO Document 48 Filed 01/14/21 Page 13 of 19            PageID #: 458




Court to assume Defendant normally has a healthy blood pressure, particularly in

light of his severe obesity. See, e.g., CDC, “Prevent High Blood Pressure,”

https://www.cdc.gov/bloodpressure/prevent.htm (last visited Jan. 14, 2021)

(“Having . . . obesity increases your risk for high blood pressure.”). According to

the CDC, people with high blood pressure might face an increased risk of severe

illness from COVID-19, see CDC, “People with Certain Medical Conditions,”

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions%2Fgroups-at-

higher-risk.html (last visited Jan. 14, 2021).

                        iii.      Acute Bronchitis

      Defendant’s acute bronchitis diagnosis coincided with his COVID-19

diagnosis. Acute bronchitis may also be called a “chest cold,” typically lasts less

than three weeks, see CDC, “Chest Cold (Acute Bronchitis),” https://www.cdc.

gov/antibiotic-use/community/for-patients/common-illnesses/bronchitis.html (last

visited Jan. 14, 2021), and sometimes includes a cough that lasts up to eight weeks.

See Johns Hopkins Medicine, “Acute Bronchitis,” https://www.hopkinsmedicine.

org/health/conditions-and-diseases/acute-bronchitis (last visited Jan. 14, 2021).

Bronchitis is not listed as a risk factor of increased risk for severe illness from

COVID-19 according to the CDC, and the Court does not weigh it as such.




                                           13
Case 1:19-cr-00006-JAO Document 48 Filed 01/14/21 Page 14 of 19        PageID #: 459




                         iv.     Defendant’s Prior COVID-19 Diagnosis

      Despite his COVID-19 diagnosis in August, Defendant’s oxygen levels and

temperature were consistently in normal range. He suffered through, among other

things, a cough, chills, body aches, and a sore throat. The Court cannot predict

whether reinfection would result in the same or more serious symptoms, and so

considers his prior COVID-19 diagnosis only as demonstrating that he has not

been adequately protected from COVID-19 at FCI Victorville, and can suffer

symptoms from it.

      The Court therefore finds that the combination of Defendant’s medical

conditions places him at greater risk of severe illness from COVID-19.

                    b.     Conditions at FCI Victorville

      The Conditions at FCI Victorville are concerning. On January 12, 2021, the

BOP reported that FCI Victorville had a total of 89 active positive inmate cases,

with 580 inmates who had recovered from COVID-19. See Federal Bureau of

Prisons, https://www.bop.gov/coronavirus (click on “Full breakdown and

additional details”) (accessed on Jan. 12, 2021). This means that approximately

600 inmates at FCI Victorville have contracted COVID-19 since the beginning of

the pandemic, and the facility currently has 989 total inmates.3



3
  The Court uses the word “approximately” because these statistics do not indicate
the number of inmates who have been reinfected.
                                         14
Case 1:19-cr-00006-JAO Document 48 Filed 01/14/21 Page 15 of 19            PageID #: 460




      The Government does not attempt to argue that FCI Victorville does not

have a COVID-19 problem; rather, it contends that: (1) “[a]n outbreak at a facility

. . . is not in itself a basis to find an extraordinary and compelling reason

warranting compassionate release”; (2) the BOP’s efforts at limiting COVID-19

infections in its facilities “have been substantial;” and (3) Defendant’s release plan

to California would only place him at greater risk because of California’s alarming

rate of infection. ECF No. 46 at 24–25.

      The Court agrees that an outbreak at a facility would not alone serve as a

basis for compassionate release. But Defendant has not argued that he should be

released solely because of the conditions at FCI Victorville. Indeed, most of

Defendant’s Motion focuses on his health. And of course the facility’s conditions

must necessarily play a role in the analysis here.

      The Government points to the BOP’s “substantial” efforts at limiting

COVID-19 but appropriately does not characterize such efforts as effective. If its

efforts were effective, there would not have been approximately 600 cases of

COVID-19 at FCI-Victorville, nor more serious outbreaks at other facilities. See,

e.g., Richard Winton, “Coronavirus outbreak at Terminal Island prison worsens: 5

dead, 600 infected,” Los Angeles Times, https://www.latimes.com/california/story/

2020-04-30/la-coronavirus-outbreak-terminal-island-prison-worsens (last visited

Jan. 14, 2020). While there surely is ongoing debate about whether the BOP’s


                                           15
Case 1:19-cr-00006-JAO Document 48 Filed 01/14/21 Page 16 of 19          PageID #: 461




efforts have been “substantial,” it cannot reasonably be said that its efforts have

been effective. Contending that the BOP’s efforts have been “substantial” and so

weigh against compassionate release amounts to arguing that the Court should not

grant compassionate release in any case because the BOP has at least tried to curb

COVID-19. Trying and doing are two different things.

      Finally, the Government’s contention that releasing Defendant into

California presents a worse danger than leaving him in FCI Victorville ignores the

realities of prison life. See United Sates v. Powell, 468 F. Supp. 3d 398, 405

(D.D.C. 2020). Defendant would at the very least be better able to social distance

and protect himself from infection if outside of prison.

      The Court therefore concludes that Defendant’s health and the conditions at

FCI Victorville place him at an increased risk of contracting COVID-19 and

suffering greater harm from it. In other words, there are extraordinary and

compelling reasons for the Court to consider a sentence reduction. The Court thus

turns to the Section 3553(a) factors to determine what reduction or modification, if

any, is warranted.

             1.      Section 3553(a) Factors

             The nature and circumstances of the offense and the history and
             characteristics of the defendant

      It is impossible to quantify methamphetamine’s devastation in the islands.

Perhaps more than any other drug, it has severely (and in many cases permanently)
                                          16
Case 1:19-cr-00006-JAO Document 48 Filed 01/14/21 Page 17 of 19         PageID #: 462




damaged our families and communities. Defendant contributed to this by mailing

pounds of methamphetamine to the small community of Kauaʻi, and profited from

it. Additionally, Defendant was a leader of the conspiracy, directing the activities

of others.

      In mitigation, Defendant’s crime involved neither violence nor guns and the

conspiracy was rather small.

      As the Court stated at the sentencing hearing, Defendant has a lengthy and

concerning criminal history, including violent firearm activity. He also did not

previously perform well while under supervision. In mitigation, Defendant faced a

difficult childhood and has made strides since incarceration to rehabilitate, most

notably his work on parenting skills and improving his job opportunities upon

release from custody. The Government has not offered any evidence that he has

had any disciplinary issues since incarceration.

             The need for the sentence imposed to reflect the seriousness of the
             offense, promote respect for the law, and to provide just punishment
             for the offense

      Defendant has served only a small fraction of his total sentence here. And

the Court recognizes that it departed significantly downward from the advisory

Guidelines range when imposing sentence—sentencing Defendant to the

mandatory minimum, which was less than half of Defendant’s guidelines range. A

sentence of incarceration of just over two years does not promote respect for the


                                         17
Case 1:19-cr-00006-JAO Document 48 Filed 01/14/21 Page 18 of 19         PageID #: 463




law, particularly given the dangerousness of methamphetamine, the amount of

methamphetamine involved in Defendant’s crime, and his criminal history.

             The need to afford deterrence to criminal conduct and to protect the
             public from further crimes of defendant

      Defendant was thirty-two years old when he committed the offense here and

is now only thirty-five. While, as stated above, he has made efforts in prison to

improve, Defendant’s lengthy criminal history and failures while under supervision

weigh against concluding that the requested sentence reduction is warranted.

             The need to avoid unwarranted sentencing disparities

      Releasing Defendant now would result in an unwarranted sentencing

disparity. Defendant’s underling, Dawson Carvalho, who played a significantly

smaller role, answered to Defendant, and had only one prior conviction for a

property crime which was later expunged, received a sentence of twelve months.

See CR No. 19-00005 JAO, ECF No. 30. A sentence of only 16 months longer

than Carvalho’s would indeed result in a disparity in this matter, even after

considering the COVID-19 pandemic.

      In sum, the Section 3553 factors weigh against a reduction of Defendant’s

sentence to time served. Further, in particular, Defendant’s lengthy criminal

history despite his young age, which includes violent firearm activity and

leadership of the instant drug conspiracy, and past inability to comply with

requirements under supervision, demonstrate to the Court that a modification of
                                         18
Case 1:19-cr-00006-JAO Document 48 Filed 01/14/21 Page 19 of 19              PageID #: 464




Defendant’s remaining sentence to probation would not result in a sentence

sufficient to comply with the purposes of the Section 3553 factors even in the light

of the extraordinary and compelling reasons discussed above.

III.   CONCLUSION

       For the foregoing reasons, the Court DENIES the Motion.

       IT IS SO ORDERED.

       DATED: Honolulu, Hawai‘i, January 14, 2021.




                              Jill A. Otake
                              United States District Judge




Cr. No. 19-00006 JAO, United States v. Rios; ORDER DENYING DEFENDANT’S MOTION FOR REDUCTION
OF SENTENCE


                                            19
